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                       EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA


FRED HANEY, MARSHA MERRILL,
SYLVIA RAUSCH, STEPHEN SWENSON,
and ALAN WOOTEN, individually, and on
behalf of all others similarly situated,
                                                      Civil Action No. 3:22-cv-00055-REP
                      Plaintiffs,

                      v.

GENWORTH LIFE INSURANCE
COMPANY and GENWORTH LIFE
INSURANCE COMPANY OF NEW YORK,

                      Defendants.


          SUPPLEMENTAL DECLARATION OF CAMERON R. AZARI, ESQ. ON
         IMPLEMENTATION AND ADEQUACY OF SETTLEMENT NOTICE PLAN

       I, Cameron Azari, declare as follows:

       1.      My name is Cameron R. Azari, Esq. I have personal knowledge of the matters set

forth herein, and I believe them to be true and correct.

       2.      I am a nationally recognized expert in the field of legal notice, and I have served

as an expert in hundreds of federal and state cases involving class action notice plans.

       3.      I am a Senior Vice President with Epiq Class Action & Claims Solutions, Inc.

(“Epiq”) and the Director of Legal Notice for Hilsoft Notifications (“Hilsoft”), a firm that

specializes in designing, developing, analyzing and implementing large-scale legal notification

plans. Hilsoft is a business unit of Epiq.

       4.      This declaration will provide updated administration statistics for the

implementation of the Settlement Notice Plan (“Notice Plan” or “Plan”) and notices (the

“Notice” or “Notices”) for the Settlement in Haney v. Genworth Life Ins. Co., No. 3:23-cv-00055-

REP, in the United States District Court for the Eastern District of Virginia.

       5.      I previously executed my Declaration of Cameron R. Azari, Esq. on Settlement



             SUPPLEMENTAL DECLARATION OF CAMERON R. AZARI, ESQ. ON
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Notice Plan and Administration, on March 31, 2022, in which I detailed Hilsoft’s class action

notice experience and attached Hilsoft’s curriculum vitae. I also provided my educational and

professional experience relating to class actions and my ability to render opinions on overall

adequacy of notice programs. Subsequently, I executed my Declaration of Cameron R. Azari,

Esq. on Implementation and Adequacy of Settlement Notice Plan (“Implementation Declaration”)

on September 14, 2022, in which I detailed Hilsoft’s successful implementation of the Settlement

Notice Plan.

       6.      The facts in this declaration are based on my personal knowledge, as well as

information provided to me by my colleagues in the ordinary course of my business at Hilsoft and

Epiq, who worked with us to implement the Notice Plan.

                            NOTICE PLAN IMPLEMENTATION

                                       Individual Notice

       7.      As stated in my Implementation Declaration, on August 1, 2022, Epiq sent the

detailed Notice via USPS first-class mail to the 352,146 Class Members. Address updating (both

prior to mailing and on undeliverable pieces) and re-mailing protocols met or exceeded those used

in other class action settlements.

       8.      Additionally, a Class Notice has been mailed to all persons who requested one via

the toll-free telephone number maintained by Epiq (as detailed below) or by mail. As of

November 1, 2022, Epiq has mailed 31 additional Class Notices as a result of such requests.

       9.      The USPS automatically forwards Class Notices with an available forwarding

address order that has not expired (“Postal Forwards”). The return address on these Class Notice

mailings is a post office box maintained by Epiq, and for Class Notices returned as undeliverable,

Epiq re-mailed the Class Notice to any new address available through USPS information (for

example, to the address provided by the USPS on returned pieces for which the automatic

forwarding order has expired, but which is still during the period in which the USPS returns the

piece with the address indicated). For other returned Class Notice mailings, Epiq also has obtained

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better addresses by using a third-party lookup service, a process commonly referred to as “skip-

tracing”. Epiq also has worked with Defendants to ensure that any such changes of address for

Class Members appear current. Upon successfully locating better addresses through these means,

Class Notices have been promptly re-mailed that Epiq has received from the USPS. As of

November 1, 2022, Epiq has re-mailed six such Class Notices. As of November 1, 2022, Epiq has

received a total of 150 undeliverable Class Notices (which includes any remailed Class Notices

that were also returned as undeliverable).

                                         Notice Results

       10.      As of November 1, 2022, Epiq has mailed Class Notices to 352,168 unique

records, with Notice to 150 unique Class Members currently known to be undeliverable. In my

experience, the approximate 99% deliverable rate to identified likely Class Members is indicative

of the extensive address research, updating and remailing protocols used and that the Notice

Program in this case met and, indeed, exceeded expectations.

                                Supplemental Publication Notice

       11.      On September 2, 2022, the Publication Notice was published for one business day

in the national editions of The New York Times, The Wall Street Journal, and USA Today as an 1/8

page ad unit.     The combined average weekday circulation of these three publications is

approximately 1.26 million.

             Case Website, Toll-free Telephone Number, and Postal Mailing Address

       12.      The existing dedicated website for the Settlement that Epiq established on August

1, 2022, (www.Choice2LongTermCareInsuranceSettlement.com) continues to be available 24

hours a day, 7 days a week. Class Members are able to obtain detailed information about the case

and review key documents, including the Notice, Settlement Agreement and its exhibits, the

Complaint, the Preliminary Approval Order, and Class Counsel’s motions and briefs in support of

the Settlement, as well as answers to frequently asked questions (“FAQs”) and a toll-free telephone

number. The case website address was displayed prominently in all Notices. A true and correct

              SUPPLEMENTAL DECLARATION OF CAMERON R. AZARI, ESQ. ON
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copy of the each of the pages of the case website are attached to this declaration as Attachment 1.

       13.     As of November 1, 2022, there have been 39,453 unique visitor sessions to the

case website, and 72,593 web pages have been presented to visitors.

       14.     The existing toll-free telephone number (1-855-662-0078) that Epiq established

on August 1, 2022, continues to be available 24 hours per day, 7 days per week. Class Members

are able to call for additional information, listen to answers to FAQs, request that a Notice be

mailed to them, and choose to speak to a live operator during normal business hours. The toll-

free telephone number also was prominently displayed in the Notices. As of November 1, 2022,

the toll-free number has handled 11,674 calls for 70,661 minutes of use and live operators have

handled 2,801 calls for 31,302 minutes of use.

       15.     A post office box that was established to allow Class Members to send inquiries

about the Settlement continues to be available.

                               Exclusion Requests and Objections

       16.     The deadline to request exclusion or objection to the Settlement was September

30, 2022. As of November 1, 2022, Epiq has received 187 requests for exclusion from the

Settlement that were postmarked on or before September 30, 2022. As of November 1, 2022, I

have reviewed all the objections available on the Court docket, and none relate to the method of

providing notice or settlement administration. The Request for Exclusion Report is included as

Attachment 2.

                                        CONCLUSION

       17.     I believe this Notice program provided the best notice practicable given the

circumstances. It is my opinion that the Notice program as implemented herein was consistent with

other class action notice plans that have been approved by both state and federal courts nationwide.

This Notice program was designed and implemented to reach as many Class Members as possible

and provided them with the opportunity to review a plain language notice with the ability to easily

take the next step and learn more about this Action and Settlement.

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       18.     The individual notice (mailing) reached approximately 99% of the identified Class.

The established website and the supplemental publication notice expanded the reach of the notice

further. In 2010, the Federal Judicial Center issued a Judges’ Class Action Notice and Claims

Process Checklist and Plain Language Guide. This Guide states that, “the lynchpin in an objective

determination of the adequacy of a proposed notice effort is whether all the notice efforts together

will reach a high percentage of the class. It is reasonable to reach between 70–95%.” Here, we

have developed and implemented a Notice Plan that readily achieved a reach that exceeded the

highest end of that standard.

       19.     The Notice Plan as implemented provided for the best notice practicable under the

circumstances of this case, conformed to all aspects of the Rule 23, and comported with the

guidance for effective notice set out in the Manual for Complex Litigation, Fourth.

       20.     The Notice Plan schedule afforded sufficient time to provide full and proper notice

to Class Members before the opt-out and objection deadlines.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

November 2, 2022, at Beaverton, Oregon.


                                                               ____________________________
                                                              Cameron R. Azari




              SUPPLEMENTAL DECLARATION OF CAMERON R. AZARI, ESQ. ON
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   Haney, et al. v. Genworth Life Insurance
   Company, et al. (/)
   United States District Court for the Eastern District of Virginia (Richmond Division)
   Case No. 3:22-cv-00055-REP




   Welcome to the Information Website for the Haney v.
   Genworth Life Insurance Class Action Settlement
    If you own a Choice 2, Choice 2.1, California CADE, California Reprise, or California Unbundled
    long-term care insurance policy issued by Genworth Life Insurance Company or Genworth Life
    Insurance Company of New York, you may be part of a class action settlement. Genworth has
    agreed to settle a proposed class action involving certain long-term care policies.

    A proposed settlement has been reached between the parties in the Haney, et al. v. Genworth Life
    Insurance Company, et al. class action lawsuit pending in the United States District Court for the Eastern
    District of Virginia (the “Class Action”), and on May 2, 2022, the settlement was granted preliminary
    approval by the Court supervising the lawsuit.

    The purpose of this website is to describe the Class Action, to inform Class Members of the proposed
    settlement terms, and to inform Class Members of their potential rights and options in connection with
    the settlement.

    In January 2022, five policyholders filed a Class Action Complaint alleging that Genworth should have
    included certain additional information in letters sent to Genworth Choice 2, Choice 2.1, California CADE,
    California Reprice, and California Unbundled policyholders about premium rate increases. Genworth
    denies all allegations and maintains that its disclosures to policyholders were reasonable, appropriate,
    and truthful.

    Pending final Court approval and subject to certain conditions, impacted policyholders may receive
    certain disclosures and policy options, including potential payments or credits. If you are a Class
    Member, you may be entitled to obtain this relief, and you may have other rights relating to the proposed
    settlement.

    If you received a notice addressed to you in the mail, then you have been identified as a Class Member in
    the settlement. If the Settlement Agreement is approved by the Court, Class Members will then be sent
    another correspondence with options to elect to receive benefits under the Settlement Agreement.
    Please be patient.

    Because the rights of Class Members may be affected, it is extremely important that you read this
    website carefully.


    Summary of Your Legal Rights and Options in This Settlement



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         Option #1:                        If you do not oppose the settlement of the lawsuit, then simply do nothing. You
         Do Nothing                        do not need to send any documents to the Settlement Administrator. IF YOU DO
                                           NOTHING, YOU WILL BE BOUND BY THE TERMS OF THE SETTLEMENT,
                                           INCLUDING THE RELEASE. If you do nothing, you will not have the right to
                                           pursue your own action for the claims covered by the Class Action Release. If
                                           the Settlement Agreement is finally approved by the Court, you will then be sent
                                           another correspondence with options to elect to receive benefits under the
                                           Settlement Agreement.


         Option #2:                        If you do NOT want to be bound by the Settlement Agreement and wish to
         Exclude Yourself                  retain the right to proceed against the Defendants on your own as to the claims
                                           that were alleged, or that have a reasonable connection with any matter of fact
                                           set forth in the Class Action, subject to any defenses that may be available to
                                           the Defendants to any claims you may have, including, but not limited to,
                                           statutes of limitation and statutes of repose, then you must notify the Settlement
                                           Administrator that you wish to exclude yourself from the Settlement Agreement
                                           and the Class (also known as “opting out”).

                                           To do so, you must send a signed letter to the Settlement Administrator, which
                                           includes: (1) your name, (2) your address, (3) if available, your policy number, (4) a
                                           statement that you are “requesting exclusion” from the Settlement Agreement,
                                           (5) the name of the case and case number (Haney, et al. v. Genworth Life
                                           Insurance Company, et al., Case No. 3:22-cv-00055-REP), and (6) your signature.

                                           Opt-out letters can be mailed to the Settlement Administrator at the following
                                           mailing address: P.O. Box 2860, Portland, OR 97208-2860.

                                           The letter requesting exclusion must be postmarked no later than September
                                           30, 2022. Any request for exclusion received with a postmark after that date will
                                           be invalid.

                                           IF YOU CHOOSE TO EXCLUDE YOURSELF, YOU WILL NOT RECEIVED THE
                                           SETTLEMENT AGREEMENT POLICY ELECTION OPTIONS OR OTHER RELIEF
                                           AND THE TERMS OF THE SETTLEMENT WILL NOT APPLY TO YOU.




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         Option #3:                        If you want to remain in the Settlement Agreement and be bound by its terms,
         Object                            but you oppose any aspect of the Settlement Agreement, or Class Counsel’s
                                           application for an award of fees and expenses, you may object to the
                                           Settlement Agreement.

                                           In order to object, you must file a written Objection with the Clerk of United
                                           States District Court for the Eastern District of Virginia, located at 701 East Broad
                                           Street, Richmond, VA 23219, and you must serve a copy of the written Objection
                                           on the Settlement Administrator at the following address: P.O. Box 2860,
                                           Portland, OR 97208-2860.

                                           A written Objection must include: (1) your name, (2) your current address, (3) the
                                           name of the case and case number (Haney, et al. v. Genworth Life Insurance
                                           Company, et al., Case No. 3:22-cv-00055-REP), (4) the basis or reason(s) for your
                                           objection(s), (6) your signature, and (7) if you (or someone on your behalf such as
                                           an attorney) intends to appear at the Final Approval Hearing, a statement stating
                                           that you (or someone on your behalf) intend to appear at the Final Approval
                                           Hearing.

                                           A written Objection must be filed with the Court and sent to the Settlement
                                           Administrator with a postmark no later than September 30, 2022. Any written
                                           Objection filed and/or mailed with a post-mark after this deadline will be invalid.

                                           You may be permitted to appear personally (or through an attorney) at the Final
                                           Approval Hearing to present your objections directly to the Court if you first
                                           timely file and serve a written Objection and do not submit a request for
                                           exclusion. A written Objection must state whether you (or someone on your
                                           behalf, such as an attorney) intends to appear at the Final Approval Hearing. If
                                           you wish to have an attorney represent you in connection with any written
                                           Objection, including to appear at the Final Approval Hearing, you will be
                                           responsible for any fees or expenses of that attorney. If you submit a written
                                           Objection, you will remain a Class Member and, if the Court rejects your
                                           objection(s), you will still be bound by the terms of the Settlement Agreement,
                                           including the Release.


         Go to a Hearing                   A court hearing concerning the fairness of the settlement will be held on
                                           November 17, 2022, at 10:00 a.m. ET at the following address: The Spottswood
                                           W. Robinson III and Robert R. Merhige, Jr., Federal Courthouse, 701 East Broad
                                           Street, Richmond, VA 23219, Richmond Courtroom 7400 to determine whether
                                           the settlement should be given final approval by the Court. You are not required
                                           to attend the hearing in order to participate in the settlement.



    Important Dates

     September 30, 2022
     Deadline to Exclude Yourself from the Settlement

     September 30, 2022
     Deadline to Object to the Settlement

     November 17, 2022, at 10:00 a.m.
     Final Approval Hearing


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   Frequently Asked Questions
         1. What is this class action lawsuit about?
         2. Who is included in the Settlement?

        3. How can I be included in the Settlement?

        4. How do I exclude myself from the Settlement?

        5. How do I object to the Settlement?

        6. What are the terms of the Settlement?

        7. When and where will the Court decide whether to approve the Settlement?

        8. Additional important information


         1. What is this class action lawsuit about?
            On January 28, 2022, five individuals with GLIC or GLICNY Choice 2, Choice 2.1, California CADE,
            California Reprice, and/or California Unbundled long-term care insurance policies Fred Haney,
            Marsha Merrill, Sylvia Rausch, Stephen Swenson, and Alan Wooten (“Named Plaintiffs”), filed a
            Class Action Complaint (“Complaint”) against Genworth in the United States District Court for the
            Eastern District of Virginia, alleging that Genworth intentionally withheld material information from
            Policyholders with respect to the full scope and magnitude of Genworth’s rate increase action
            plans and its reliance on Policyholders paying increased rates to pay future claims (the
            “Complaint”). The Complaint asserted claims for Fraudulent Inducement by Omission and for
            Declaratory Relief.

            Genworth denies any wrongdoing or legal liability for any alleged wrongdoing in connection with
            any facts or claims that have been or could have been alleged in Named Plaintiffs’ lawsuit,
            whether on behalf of the Named Plaintiffs or Class Members. Genworth contends that the Named
            Plaintiffs’ and Class Members’ claims challenged Genworth’s right to increase premiums and thus
            are barred by the filed-rate doctrine, and that neither Named Plaintiffs nor the putative Class has
            been injured or is entitled to any relief. The Court has not ruled on the merits of the claims or
            defenses.

            All Parties believe in the merits of their respective claims and defenses. Nevertheless, due to the
            uncertainties, risks, expenses, and business disruption of continued litigation, the Parties have
            agreed to settle the lawsuit after voluntary mediation proceedings involving a mediator. The
            Parties have entered into a Joint Stipulation of Class Action Settlement and Release, which the
            Court has preliminary approved as fair and reasonable, and which was amended and superseded
            by an Amended Joint Stipulation of Class Action Settlement and Release on July 6, 2022
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            “(Settlement Agreement”). The principal terms of the Settlement Agreement are summarized on
            this website. The full Settlement Agreement is on file with the Court and available on the
            Important Documents (/Home/Documents) section of this website.

            The attorneys for plaintiffs Fred Haney, Marsha Merrill, Sylvia Rausch, Stephen Swenson, and Alan
            Wooten have been designated by the Court as “Class Counsel” to represent all Class Members
            affected by the Settlement Agreement. Class Counsel believes that the Settlement Agreement
            summarized by this website is fair, reasonable, and adequate and in the best interests of the Class
            Members.

            The following law firms are Class Counsel and represent the Class Members:

             Class Counsel

             GOLDMAN SCARLATO & PENNY, P.C.                           ROBBINS GELLER RUDMAN & DOWD LLP
             Brian D. Penny                                           Stuart A. Davidson
             161 Washington Street, Suite 1025                        120 East Palmetto Park Road, Suite 500
             Conshohocken, PA 19428                                   Boca Raton, FL 33432

             PHELAN PETTY, PLC                                        BERGER MONTAGUE PC
             Jonathan M. Petty                                        Glen L. Abramson
             3315 West Broad Street                                   1818 Market Street, Suite 3600
             Richmond, VA 23230                                       Philadelphia, PA 19103

                                             Class Counsel’s Toll-free Number: 1-800-348-6192


            The Settlement Administrator is Epiq. Epiq’s phone number is 1-855-662-0078; and its mailing
            address is Haney v. Genworth, P.O. Box 2860, Portland, OR 97208-2860.

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        2. Who is included in the Settlement?
           The “Class Members” for purposes of this settlement are defined as all Policyholders of GLIC and
           GLICNY long-term care insurance Choice 2, Choice 2.1, California CADE, California Reprice, and
           California Unbundled policies, and State variations of those policies in force at any time during the
           Class Period and issued in any of the fifty (50) States or the District of Columbia (the “States”)
           excluding: (1) those Policyholders whose policies went into Non-Forfeiture Status or entered a
           Fully Paid-Up Status prior to January 1, 2014; (2) those Policyholders whose Class Policy is Lapsed
           and is outside any period Genworth allows for the Class Policy to be automatically reinstated with
           payment of past due premium, or whose Class Policy has otherwise Terminated, as of the date of
           the Class Notice; and those Policyholders whose Class Policy is Lapsed and is outside any period
           Genworth allows for the Class Policy to be automatically reinstated with payment of past due
           premium or has otherwise Terminated, as of the date the Special Election Letter (defined below)
           would otherwise be mailed to the Policyholder; (3) those Policyholders who are deceased at any
           time prior to sending their Special Election Option to Genworth; (4) Genworth’s current officers,
           directors, and employees as of the date Class Notice is mailed; and (5) Judge Robert E. Payne and
           his immediate family and staff.

            Changes to your policy status or coverage (including, for example, whether your policy lapses or
            is terminated) may also impact whether or not you are in the proposed settlement class. If your
            policy lapses after the date of the Class Notice, it must be reinstated within your applicable auto-
            reinstatement period if you wish to exercise rights and options in the settlement.

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        3. How can I be included in the Settlement?
           If you do not oppose the settlement of the lawsuit, then simply do nothing. You do not need to
           send any documents to the Settlement Administrator. IF YOU DO NOTHING, YOU WILL BE
           BOUND BY THE TERMS OF THE SETTLEMENT, INCLUDING THE RELEASE. If you do nothing, you
           will not have the right to pursue your own action for the claims covered by the Class Action
           Release. If the Settlement Agreement is approved by the Court, you will then be sent another
           correspondence with options to elect to receive benefits under the Settlement Agreement.

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        4. How do I exclude myself from the Settlement?
           If you do NOT want to be bound by the Settlement Agreement and wish to retain the right to
           proceed against GLIC and/or GLICNY on your own as to the claims that were alleged, or that have
           a reasonable connection with any matter of fact set forth in the Class Action, subject to any
           defenses that may be available to GLIC and/or GLICNY to any claims you may have, including,
           but not limited to, statutes of limitation and statutes of repose, then you must notify the
           Settlement Administrator that you wish to exclude yourself from the Settlement Agreement and
           the Class (also known as “opting out”).

            To do so, you must send a signed letter to the Settlement Administrator, which includes: (1) your
            name, (2) your address, (3) if available, your policy number, (4) a statement that you are “requesting
            exclusion” from the Settlement Agreement, (5) the name of the case and case number (Haney, et
            al. v. Genworth Life Insurance Company, et al., Case No. 3:22-cv-00055-REP), and (6) your
            signature.

            Opt-out letters can be mailed to the Settlement Administrator at the following mailing address:
            Haney v. Genworth, Exclusions, P.O. Box 2860, Portland, OR 97208-2860.

            The letter requesting exclusion must be postmarked no later than September 30, 2022. Any
            request for exclusion received with a postmark after that date will be invalid.

            IF YOU CHOOSE TO EXCLUDE YOURSELF, YOU WILL NOT RECEIVE THE SETTLEMENT
            AGREEMENT POLICY ELECTION OPTIONS OR OTHER RELIEF AND THE TERMS OF THE
            SETTLEMENT WILL NOT APPLY TO YOU.

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        5. How do I object to the Settlement?
           If you want to remain in the Settlement Agreement and be bound by its terms, but you oppose
           any aspect of the Settlement Agreement, or Class Counsel’s application for an award of fees and
           expenses, you may object to the Settlement Agreement.

            In order to object, you must file a written Objection with the Clerk of United States District Court
            for the Eastern District of Virginia, located at 701 East Broad Street, Richmond, VA 23219, and you
            must serve a copy of the written Objection on the Settlement Administrator at the following
            address: Haney v. Genworth, Objections, P.O. Box 2860, Portland, OR 97208-2860.

            A written Objection must include: (1) your full name, (2) your current address, (3) the name of the
            case and the case number (Haney et al. v. Genworth Life Insurance Company et al., Case No. 3:22-
            cv-00055-REP), (4) the basis or reason(s) for your objection(s), (5) your signature, and (6) if you (or

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            someone on your behalf such as an attorney) intends to appear at the Final Approval Hearing, a
            statement stating that you (or someone on your behalf) intend to appear at the Final Approval
            Hearing.

            Any written Objection must be filed with the Court and sent to the Settlement Administrator with a
            postmark no later than September 30, 2022. Any written Objection filed and/or mailed with a
            postmark after this deadline will be invalid.

            You may be permitted to appear personally (or through an attorney) at the Final Approval Hearing
            to present your objections directly to the Court if you first timely file and serve a written Objection
            and do not submit a request for exclusion. A written Objection must state whether you (or
            someone on your behalf, such as an attorney) intends to appear at the Final Approval Hearing. If
            you wish to have an attorney represent you in connection with any written Objection, including to
            appear at the Final Approval Hearing, you will be responsible for any fees or expenses of that
            attorney. If you submit a written Objection, you will remain a Class Members and, if the Court
            rejects your objection(s), you will still be bound by the terms of the Settlement Agreement,
            including the Release.

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        6. What are the terms of the Settlement?
           The Settlement Agreement is conditioned upon the Court entering an order granting final
           approval of the Settlement Agreement as fair, reasonable, and adequate and in the best interests
           of the Class. Subject to the Settlement Agreement becoming final, the terms of the Settlement
           Agreement are as follows:

                1. Special Election Disclosures and Options: In consideration for a Release as described in
                   Paragraph 2, and as a direct result of the Class Action and the Settlement Agreement,
                   Genworth will send a special election letter (“Special Election Letter”) to all Class Members
                   after the Settlement has been finally approved. The Special Election Letter will contain,
                   subject to approval by the Court and being approved by and/or not objected to by state
                   insurance regulators:
                       a. Disclosure of certain information about GLIC’s and/or GLICNY’s future rate increase
                          plans and need for future rate increases (the “Disclosures”); and
                       b. Class Members’ right to make an election of either (1) maintaining current benefits at
                          existing filed rates (subject to the future approved rate increases), or (2) electing
                          from a selection of reduced paid-up benefit options or reduced benefit options (the
                          “Special Election Options”), subject to the availability of those options depending on
                          each Class Member’ current policy terms and benefits and any state limitations
                          concerning Partnership Plan (“Partnership Plan”) requirements. Special Election
                          Options that may be available could increase the amount of your current non-
                          forfeiture paid-up benefit or entitle you to cash damages pay-outs. The actual
                          Special Election Options available to you will depend upon many factors including,
                          but not limited to, your current policy status and benefits, final court approval, and
                          state regulatory review and comment.


                2. Release: Each member of the Class who does not timely and validly opt out of the Class,
                   will forever release and discharge GLIC and GLICNY (collectively “Genworth”) and each of
                   those entities’ respective affiliates, predecessors, successors, parents, subsidiaries, and, for

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                   each of the foregoing, their current, former, and future directors, officers, direct and indirect
                   owners, members, managers, attorneys, representatives, employees, and agents (the
                   “Genworth Released Parties”) of and from any and all known or unknown, contingent or
                   absolute, matured or unmatured, suspected or unsuspected, disclosed or undisclosed,
                   foreseeable or unforeseeable, liquidated or unliquidated, existing or arising in the future,
                   and accrued or unaccrued claims, demands, interest, penalties, fines, and causes of action,
                   that the Named Plaintiffs and Class Members may have from the beginning of time through
                   and including the Final Settlement Date that relate to claims alleged, or that have a
                   reasonable connection with any matter of fact set forth in the Class Action including, but
                   not limited to, any claims relating to rate increases on Class Policies prior to the Final
                   Settlement Date. This release specifically includes any legal or equitable claim arising from
                   or related to any election or policy change made or not made by any Class Members to his
                   or her policy benefits prior to the Final Settlement Date. Named Plaintiffs and Class
                   Members, subject to the exception set forth below, will further release the Genworth
                   Released Parties and Class Counsel from any claims relating to or arising out of the
                   Disclosures or the Special Election Letters the Class Members are provided as part of the
                   Settlement Agreement, including (but not limited to) claims specifically relating to any
                   alleged omissions in the Disclosures or the Special Election Letters or to any decision, or
                   non-decision, to maintain, modify, or give up coverage based on the Disclosures, the
                   Special Election Letters, or the Special Election Options offered. A claim that a Class
                   Member was harmed by an express and intentional misrepresentation: in the completed
                   portion of the Disclosures that currently is bracketed in the template Special Election
                   Letter appended as Appendix D to the Settlement Agreement, in the completed portions
                   of the Special Election Options that are made available to that Class Member that currently
                   are bracketed in the template Special Election Letter, or by the Genworth Released Parties
                   or Class Counsel about the Disclosures, shall not be a Released Claim. A Class Member
                   may pursue such a claim in the Court via complaint or petition within three years of the
                   date the Class Member makes a Special Election or three years of the deadline for the
                   Class Member to make a Special Election, whichever is earlier, provided that, before filing
                   any such claim, the Class Member shall first notify the Parties of the basis for the claim and
                   provide them with a reasonable opportunity to investigate and, if appropriate, remedy the
                   alleged harm.

                   This Release will not prevent a Class Member from making a claim for benefits under his or
                   her long-term care insurance policy consistent with his or her policy coverage, nor shall it
                   include a Class Member’s challenge or appeal of Genworth’s denial of benefits under his or
                   her Class Policy.

                   This is only a summary of the actual benefits and release language contained in the
                   Settlement Agreement, which is available on the Important Documents
                   (/Home/Documents) section of this website. If the Settlement Agreement is not approved
                   by the Court or does not become final for any reason, the Class Action will continue, this
                   Release will not be binding, and the Special Election Options will not be available.

                3. Attorneys’ Fees and Litigation Expenses: As part of the request for Final Approval of the
                   Settlement Agreement, Class Counsel will file a request seeking to be paid a contingent
                   payment of 15% of certain amounts related to Special Election Options selected by the
                   Class, which shall be no greater than $13,000,000.00. None of the attorneys’ fees will be
                   deducted from payments made by Genworth to Class Members.

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                   Class Counsel will also file a request for an award of reasonable litigation expenses in this
                   case. These expenses will be no more than $50,000.

                   These are the only attorneys’ fees and litigation expenses that Class Counsel will be paid
                   as a result of the Settlement. Class Members will not be required to separately pay Class
                   Counsel for any other attorneys’ fees or expenses. Genworth has agreed to pay all fees and
                   expenses separately. The actual amounts of attorneys’ fees and litigation expenses to be
                   paid to Class Counsel will be determined by the Court, and these amounts will be paid by
                   Genworth directly to Class Counsel.

                   This is only a summary of the actual Attorneys’ Fees and Litigation Expenses provisions
                   contained in the Settlement Agreement, which is available on the Important Documents
                   (/Home/Documents) section of this website.

                4. Class Representative Service Payment: Named Plaintiffs Fred Haney, Marsha Merrill, Sylvia
                   Rausch, Stephen Swenson, and Alan Wooten have been appointed as class
                   representatives by the Court. As part of the request for Final Approval of the Settlement
                   Agreement, Class Counsel will request that service payments be awarded to each class
                   representative in an amount of up to $15,000 for each of them for the time, work, and risk
                   they undertook in bringing this Class Action and achieving a settlement on behalf of all
                   Class Members. None of the service payments approved by the Court will be deducted
                   from payments made by Genworth to Class Members.

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        7. When and where will the Court decide whether to approve the Settlement?
           The Final Approval Hearing on the fairness and adequacy of the Settlement Agreement will be
           held on November 17, 2022, at 10:00 a.m. in Courtroom 7400 in The Spottswood W. Robinson III
           and Robert R. Merhige, Jr., Federal Courthouse, 701 East Broad Street, Richmond, VA 23219. You
           are not required to attend the Final Approval Hearing in order to participate in the Settlement
           Agreement, although you are free to do so if you choose. The Court, in its discretion, may
           continue the Final Approval Hearing to a later date, in which case no additional written notice will
           be sent to Class Members, so it is incumbent upon you to check this website regarding the Final
           Approval Hearing date and time if you wish to attend.

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        8. Additional important information
           The Special Election Options described on this website still require final approval by the Court and
           are subject to review by state insurance regulators.

            You should also consider the following additional information, which may impact the availability of
            Special Election Options under this settlement:

                1. If you currently have a long-term care policy with Genworth, you must continue to pay
                   premiums (unless your premiums have been waived or your policy is in Fully Paid-Up
                   Status) to keep your policy in force so that it is eligible for Special Election Options under
                   this settlement. Your premiums also remain subject to any rate increases that may be
                   approved or otherwise permitted.




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                2. Changes to your policy status or coverage (including lapse or termination) may impact
                   whether or not you are in the proposed settlement class and/or whether Special Election
                   Options will be available to you.

                           If your policy lapses after the date of the Class Notice but is still in the period during
                           which your policy can be automatically reinstated by paying any past-due premium,
                           you will need to reinstate your policy by paying the past-due premium to exercise
                           any rights and options under the settlement.

                           If, before you are sent a Special Election Letter, your policy lapses and is outside any
                           period Genworth allows for the policy to be automatically reinstated with payment
                           of past due premium, or terminates for any other reason, then you will be excluded
                           from the Settlement Class and the Special Election Options will not be available to
                           you.

                           If, after you have been sent a Special Election Letter, your policy lapses and is
                           outside any period Genworth allows for the policy to be automatically reinstated
                           with payment of past due premium, or terminates for any other reason, then you will
                           remain in the Settlement Class and release your claims, but you will no longer be
                           eligible for the Special Election Options.

                3. If you reduce your coverage, including in response to a rate increase on your policy, your
                   reduction in coverage may affect the Special Election Options that otherwise may become
                   available to you under this settlement. As a Policyholder, you have options to reduce your
                   coverage that are separate from the Special Election Options that may become available to
                   you under this settlement. For example, if there is a premium rate increase on your policy,
                   you will have options for reducing your coverage. Those options will be different from any
                   Special Election Options that may become available under this settlement and do not
                   include the possibility of a cash damages payout. If you select an option to reduce your
                   coverage separate from the Special Election Options that may be available under this
                   settlement, you may eliminate or reduce the availability of any future Special Election
                   Options or the value of any corresponding cash damages payments that may be available.
                   Whether one of these options or any Special Election Option will best meet your needs will
                   depend on your specific circumstances.

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   Important Documents
    For additional information on the Settlement, please select from the documents listed below.


                 Notice (/Content/Documents/Notice.pdf)


                 Class Action Complaint (/Content/Documents/Complaint.pdf)


                 Plaintiffs’ Motion to Direct Notice of Proposed Settlement to the Class
                 (/Content/Documents/Motion to Direct Notice of Settlement.pdf)


                 Plaintiffs’ Memorandum in Support of Motion to Direct Notice of Proposed Settlement to the
                 Class (/Content/Documents/Memo ISO Motion to Direct Notice to Class.pdf)


                 Declaration of Brian D. Penny in Support of Motion to Direct Notice of Proposed Settlement to
                 the Class (/Content/Documents/Decl Penny ISO Motion to Notice Class.pdf)


                 Order Granting Preliminary Approval of Settlement and Directing Notice to Class
                 (/Content/Documents/Order Granting Preliminary Approval.pdf)


                 Settlement Agreement (/Content/Documents/Settlement Agreement.pdf)


                 Amended Settlement Agreement (/Content/Documents/Amended Settlement
                 Agreement.pdf)


                 Stipulation to Amend Settlement Agreement (/Content/Documents/Stipulation to Amend
                 Settlement Agreement.pdf)


                 Appendix A – Class Policies (/Content/Documents/Appendix A - Class Policies.pdf)


                 Appendix C – Special Election Options (/Content/Documents/Appendix C Special Election
                 Options.pdf)


                 Appendix D – Special Election Letter (/Content/Documents/Appendix D Special Election
                 Letter.pdf)

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                Class Counsel's Application for an Award of Attorneys' Fees and Expenses and Service Awards
                to the Named Plaintiffs (/Content/Documents/Application for Attys Fees.pdf)


                Declaration of Brian D. Penny in Support of Attorneys' Fees and Expenses and Service Awards
                to the Named Plaintiffs (/Content/Documents/Declaration of Penny ISO Final Approval.pdf)


                Memorandum in Support of Class Counsel's Application for an Award of Attorneys' Fees and
                Expenses and Service Awards to the Named Plaintiff (/Content/Documents/Memo ISO
                Application for Attys Fees.pdf)


                Memorandum in Support of Plaintiffs' Motion for Final Approval of Class Action Settlement
                (/Content/Documents/Memo ISO Motion for Final Approval.pdf)


                Plaintiffs' Motion for Final Approval of Class Action Settlement (/Content/Documents/Motion
                for Final Approval of Settlement.pdf)




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   Contact Us
    If you have any questions, you may contact the Settlement Administrator, or you may call Class Counsel.
    You should not contact the Court, Genworth, or Genworth’s Counsel with questions about the Notice or
    the settlement, although you may contact Genworth, as usual, about your policy, benefits, or any
    election letter received.

    Please ensure that you include your name and your return address on all correspondence.


        Write Us:

    Haney v. Genworth Settlement Administrator
    P.O. Box 2860
    Portland, OR 97208-2860


        Call Class Counsel:

    1-800-348-6192 (Toll-Free)


        Call the Settlement Administrator:

    1-855-662-0078 (Toll-Free)




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              Number    Epiq ID               Policyholder Name
                1          3                       Roger A. Fine
                2        2900                Denise M. Chroscinski
                3        4385                      Gary C. Nash
                4        5296                     Janice C. Gould
                5        8721                  Frances M. Valiska
                6       12544         Roger H. and Mary Lee H. Meacham
                7       15315                   Joyce Caplan Fine
                8       17384                   Robert C. Nelson
                9       17588                   Rayner W. Kelsey
                10      19052              Lynn G. and Beth E. Turner
                11      24301                      Connie Kinkle
                12      24570                      Amy Brownell
                13      25389                 Katharina E. DeHaas
                14      26736                   Donna J. Wiskow
                15      28764                    Eileen M. Halter
                16      30092                    Robert C. Stroup
                17      39809                     Gerald L. Gould
                18      41540          Franklyn W. and Carolyn J. Roitsch
                19      43409                       Rose Tressel
                20      45428                    Edilberto P. Felix
                21      45702                 Robert G. Neumann
                22      47185                   Donald A. Parker
                23      48346                    Roger B. Bentley
                24      50668                  Anthony Galantino
                25      53194                        Vicki Gibbs
                26      55047                  Richard E. Murphy
                27      55330              Karen M. and Greg A. Haub
                28      58982                    Laura Lee Power
                29      60945                 Elaine K. Drabenstot
                30      61982                   Charles V. Konkle
                31      63073                     Kristen R. Dotti
                32      63745                    Winifred J. Rush
                33      63897            Jack D. and Olivia Kindig Wells
                34      63971               Clifford and Nancy Coss
                35      63976                    Cynthia H. Ouzts
                36      66290                       Diane J. Butt
                37      66433                    Paula L. Bentley
                38      68672           Rayner W. and Joanne E. Kelsey
                39      70091                   Elizabeth S. Cram
                40      70467                    Steven W. Ouzts
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              Number    Epiq ID                 Policyholder Name
                41       70571                   Alice A. Neumann
                42       77884                    Margaret McKee
                43       80605                  Alvin and Sue Rykus
                44       81117           John Mark and Susan G. Brabon
                45       84067                   Edward R. Parmer
                46       86306                   Dolores M. Sevier
                47       86624                     Cathy L. Konkle
                48       93278                     Mari Ogimachi
                49       93550                   Marian S. Fredner
                50       95538                        Gail E. Vick
                51       98697                    Ellen M. Broome
                52      102177         Lloyd Kenneth and Carol D. Parson
                53      105700                    Billie Sue Easley
                54      106985                   Charlene E. Flynn
                55      107028                    Martha J. Nelson
                56      110940               Larry and Joanne Graves
                57      111901                     James E. Flynn
                58      112562                      Liliana Binner
                59      112764                        Carol Hunt
                60      117589                  Kimberly A. O'Brien
                61      117778       Orlo William and Mary Suzanne Pettit
                62      118712                 Harriet R. Greenfield
                63      120454                       Kay K. Bains
                64      120715                     Helen Gormley
                65      121642                Barbara L. Schuhmann
                66      123702                    Cynthia A. Fadal
                67      124679                  Charles K. Valentine
                68      127073      Karl R. Audenaerde and Greta A. Gabriels
                69      134671                   Linda B. Dumaine
                70      135372                      Janet Thomas
                71      140233                  Edward Chroscinski
                72      143601                 John Henry Campbell
                73      144398                Delmar Norman Ford
                74      146763                   Collene S. Lehane
                75      148350                Gerald R. Thalhammer
                76      148363                    Sylvia A. Hatem
                77      148880                  Jane Irene Goldman
                78      152548                  Catherine M. Stroup
                79      153437                Joel Leslie Konigsberg
                80      157045          Katherine S. and Daniel R. Frazier
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              Number    Epiq ID                  Policyholder Name
                 81     157613                     Pamela Senecke
                 82     158397                 Robert B. Groseclose
                 83     158881                      Paulette Stortz
                 84     161090                    Kathy I. Voorhies
                 85     161248                   Sandra J. Valentine
                 86     162052                       David Thomas
                 87     162708                     Dewey L. Bowen
                 88     163041              James and Cynthia Combs
                 89     163249                       David Tressel
                 90     163644                   Thomas F. Roberts
                 91     164170                   Marilyn I. Wymore
                 92     165605          Kenneth M. and Janice L. Butner
                 93     168888           James E. and Margaret V. Byrd
                 94     169304                      Susan C. Cooke
                 95     170860                      Carol J Shapiro
                 96     171765                      Carolyn Oswald
                 97     174185                      Claudia J. Kelly
                 98     177833          William J. and Judith K. McCann
                 99     178452                      Glenn C. Smith
                100     178779                       Elliot K. Sevier
                101     179056             Lester C. and Lisa H. Caudle
                102     179738                         Jerry Hunt
                103     182917                       Susan B. Kapp
                104     186734                      Faye H. Parmer
                105     186735                   Walter Nussberger
                106     189275                   Robert M. Hustead
                107     194207                     Julie Jane Seeley
                108     197968                    Elizabeth Schacht
                109     198300                    Sandra Kornegay
                110     201579                James Michael Wilhelm
                111     207026                  Adoracion P. Briones
                112     208867           Michael A. and Julie Anne Ball
                113     211057                      Carl K. Fortney
                114     211257                     Joseph P. Welsh
                115     211620                      Shirley C. Tseng
                116     215168                  Rodney C. Tannehill
                117     216039                        Kirk Melvin
                118     218624                    Ramon O. Briones
                119     219717               Jan P. and Caryl J. Dengel
                120     220377                  Gregory W. Johnson
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              Number    Epiq ID              Policyholder Name
                121     222001         Donald C. and Patricia M. Jochem
                122     222893                   Tracey Baker
                123     223607                   Maria A. Diaz
                124     224474         Geoffrey T. and Sandra S. Griffin
                125     225051                Robert H. Benson
                126     226870                Margaret A. Harris
                127     229287                 Gerald D. Cooke
                128     232336                Elizabeth A. Stone
                129     232514                   Judy F. Clarke
                130     233546              Melvin Wayne Taylor
                131     234762                Ethel Viola Blevins
                132     236528                  Donna D. Skoll
                133     240505                  Oliver C. Hood
                134     241228                Ruel Connor Craft
                135     242137                 Robert E. Ferrea
                136     242437                     Daniel Hsu
                137     247957            Suzanne Weisband Tovar
                138     250204                Judy B. Massengill
                139     252486                   Loyce O. Click
                140     253065                 Kathy B. Johnson
                141     255453            Sophia Charlotte Hughes
                142     257586             Don and Vera Hunziker
                143     258587                  Janet D. Gortz
                144     260552                   Allen L. Kapp
                145     261080          Mark G. and Rebecca J. Miles
                146     261853                 Hoyle S. Broome
                147     263578              Daniel W. Drabenstot
                148     264572               Lawrence T. Hawley
                149     266294               Hilda Marie Oakley
                150     268802                 Gregory H. Tovar
                151     269753                   Kevan A. Vick
                152     272759              David Mark Huffman
                153     287895                Camille C. Mitchell
                154     296542          Michael E. and Debra A. Riley
                155     297705                  Stacey Paynter
                156     300329                Julia M. Cameron
                157     302274                 Doris L. Fortney
                158     304700              Sharon Rae Donovan
                159     307408                 Cheryl S. Hawley
                160     309700                   Carol A. Hood
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              Number    Epiq ID                Policyholder Name
                161     309790        John W. Roby and Amelia E. Hartman
                162     310349                   Jill Farmer Paris
                163     311971                      Mark I. Skoll
                164     312421                   Susan McMillan
                165     312893         James E. and Rosemary M. Stevens
                166     314262                    Scott W. Cram
                167     320120                   J. Robert Kinkle
                168     320370       Stephen Thomas and Jane H. Woodall
                169     321765             Carolyn Rose Bloodworth
                170     323098                   Ann Nussberger
                171     323557             Sandra K Heitman‐Boden
                172     325358                  Joanne E. Kelsey
                173     325530                  D. Patricia Powell
                174     328350       Joseph E. and Kathleen M. McCormick
                175     328890              Timothy Wayne Seeley
                176     329952                     Susan Bhang
                177     332005                    Joy Stanowicz
                178     334218                 Rena K. Magolnick
                179     335711           William L. and Linda L. Dalton
                180     341653                   Merle F. Halter
                181     343872                    Elise Streicher
                182     344194                 Kathleen Toussaint
                183     344339                Remona Thompson
                184     344801                    Lee Ann Taylor
                185     346887                  Sheryl Ellen Ford
                186     350585                   Gayle M. Ferrea
                187     350655                  Stephen E. Clarke
